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                          UNITED STATES DISTRICT COURT                                         
                          NORTHERN DISTRICT OF CALIFORNIA                                       Jan 28 2022

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Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.
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    86$9   Ross Klinger                                         &5 FU-6:

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    /HDG$WWRUQH\ Molly      K. Priedeman              'DWH6XEPLWWHG   January 28, 2022
    &RPPHQWV                              
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    Criminal Complaint: 21-mj-71085
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